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wort DISTRICT COURT
IERN DISTRICT OF TEXAS
FILED

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXIAS JAN 19 2022

 

 

 

 

 

 

AMARILLO DIVISION CLERK, U.S. DISTRICT COURT
STATE OF TEXAS, ef al., § Beam
§
Plaintiffs, §
§
V. § 2:21-CV-229-Z
§
XAVIER BECERRA, in his official capacity  §
as Secretary of the United States Department §
of Health and Human Services, e¢ al., §
§
Defendants. §

JUDGMENT
Of equal date herewith, the undersigned United States District Judge has entered an order
GRANTING Plaintiffs’ Motion to Dismiss WITHOUT PREJUDICE pursuant to Federal Rule
of Civil Procedure 41(a)(2) (ECF No. 63) and DISMISSING as moot Defendants’ Motion to Stay
Further Proceedings (ECF No. 56) and Defendants’ Motion for a Stay of the Injunction Pending
Appeal (ECF No. 60).

Judgment is rendered accordingly.

January 17, 2022. _iffaiuad

HEW J. KACSMARYK
ON ED STATES DISTRICT JUDGE

 
